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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                             GAINESVILLE DIVISION


GLENN M. HEAGERTY, JR.,                      :
                                             :
       Plaintiff,                            :
                                             :   CIVIL ACTION
v.                                           :   NO. 2:14-CV-132-WCO-JCF
                                             :
OCWEN LOAN SERVICING, LLC,                   :
et al.,                                      :
                                             :
       Defendants.                           :


                                         ORDER

       The captioned case is before the court for consideration of plaintiff’s motion for

extension of time to file a notice of appeal [71]. Plaintiff seeks an extension of time

in which to file his notice of appeal from this court’s order dated June 11, 2015 (the

“Order”), dismissing plaintiff’s claims against Ocwen Loan Servicing, LLC

(“Ocwen”). Plaintiff’s motion was filed on July 14, 2015.

       Federal appeals courts have jurisdiction over final decisions of the district

courts. 28 U.S.C. § 1291. “A ‘final decision’ generally is one which ends the

litigation on the merits and leaves nothing for the court to do but execute the

judgment.” Catlin v. United States, 324 U.S. 229, 233 (1945). “[A]n order

adjudicating fewer than all the claims in a suit, or adjudicating the rights and liabilities
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of fewer than all the parties, is not a final judgment from which an appeal may be

taken,” unless “the district court properly certifies as ‘final’ under Rule 54(b), a

judgment on fewer than all claims or parties.” Lloyd Noland Found., Inc. v. Tenet

Health Care Corp., 483 F.3d 773, 777 (11th Cir.2007). “When an action presents

more than one claim for relief . . . or when multiple parties are involved, the court may

direct entry of a final judgment as to one or more, but fewer than all, claims or parties

only if the court expressly determines that there is no just reason for delay.” FED. R.

CIV. P. 54(b).

       Here, plaintiff seeks to appeal from the Order which dismisses one of the

defendants in this case. The Order was not a final decision because the litigation is

still ongoing in this case. See Supreme Fuels Trading FZE v. Sargeant, 689 F.3d

1244, 1245-46 (11th Cir. 2012) (holding that the Eleventh Circuit lacked jurisdiction

of an appeal by one of the defendants because the district court “did not resolve the

rights and liabilities of the other three defendants” in the case). In the absence of

certification as a final judgment under Fed.R.Civ.P. 54(b), the Order, which disposes

of fewer than all parties, is not a final, appealable order. Plaintiff is not seeking a Rule

54(b) certification. Consequently, plaintiff’s attempted appeal is premature, and an

extension is not necessary at this time.




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      Accordingly, the court hereby DENIES plaintiff’s motion for extension of time

to file a notice of appeal [71].

      IT IS SO ORDERED, this 26th day of August, 2015.


                                      s/William C. O’Kelley
                                      WILLIAM C. O’KELLEY
                                      Senior United States District Judge




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